                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    WAYMO LLC,                                         Case No.17-cv-00939-WHA (JSC)
                                                       Plaintiff,
                                   8
                                                                                           ORDER AMENDING DKT. NO. 2460
                                                v.                                         ORDER RE: WAYMO'S
                                   9
                                                                                           ADMINISTRATIVE MOTION TO SEAL
                                  10    UBER TECHNOLOGIES, INC., et al.,
                                                                                           Re: Dkt. Nos. 2441, 2446, 2460
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On January 9, 2018, the Court denied Waymo’s administrative motion to file under seal

                                  14   portions of its discovery letter brief and exhibits thereto because Uber—the party who had

                                  15   designated the material sought to be filed under seal as confidential—had not submitted a

                                  16   declaration is support of sealing as required by Civil Local Rule 79-5(e)(1). (Dkt. No. 2241.) It

                                  17   has since been brought to the Court’s attention that Uber actually submitted a declaration in

                                  18   support of sealing, although it was not docketed as such or linked to Waymo’s motion to seal.

                                  19   (Dkt. No. 2446.) Accordingly, the Court AMENDS its prior order and GRANTS Waymo’s

                                  20   motion to seal as follows: Exhibits B, F, H, and O as narrowly tailored by Uber (Dkt. No. 2446-1

                                  21   at 1-10) and Exhibit G (Dkt. No. 2441-10) in its entirety. Waymo’s motion to seal is otherwise

                                  22   DENIED.

                                  23

                                  24          IT IS SO ORDERED.

                                  25   Dated: January 11, 2018

                                  26
                                  27
                                                                                                   JACQUELINE SCOTT CORLEY
                                  28                                                               United States Magistrate Judge
